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              UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF NEW YORK
              - - - - - - - - - - - - - - - - - - - - - -X

              WINDWARD BORA LLC,

                                            Plaintiff,

                         - against -
                                                   Case No.
                                                   19-cv-07275-DLI-CLP


              STUYVESANT CONSTRUCTION CORP.;
              HSBC BANK USA NATIONAL ASSOCIATION,

                                       Defendants.
              - - - - - - - - - - - - - - - - - - - - - -X




                                           August 31, 2021
                                           11:09 a.m.



                               VOLUME II



                                    CONTINUED DEPOSITION OF

              YONEL DEVICO, a witness on behalf of the Plaintiff,

              WINDWARD BORA LLC, taken by the attorneys for the

              respective parties, pursuant to Notice and Court Order,

              held via web conference at the above date and time,

              before Karen B. Appel, RPR, a Stenotype Reporter and

              Notary Public within and for the State of New York.




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                                                                               97
         1                             Yonel Devico

         2                       MR. RICHLAND:       Yes, paragraph 4.

         3               A       So the note of Karisma -- and I don't

         4     know his first name -- Page was transferred on

         5     September 2nd.     So the note of Christi -- the note

         6     of Karisma and Randy Page was transferred to

         7     Windward Bora in September 2019 at the beginning of

         8     the process of the foreclosure.

         9                       THE INTERPRETER:            Um ...

       10                Q       Go ahead.

       11                        THE INTERPRETER:            No.

       12                A       Okay.    So at the beginning of the

       13      process of the foreclosure Windward Bora LLC was in

       14      possession of the note of Karisma and Randy Page.

       15                Q       So, Mr. Devico, it is the statement

       16      in paragraph 4 that:       "On July 18, 2015, the subject

       17      loan and loan documents (including the contract in

       18      which this case is based) were assigned to Windward

       19      Bora LLC" is not true; isn't that correct?

       20                A       So if they wrote that there, it's an

       21      innocent error.

       22                Q       Do you normally review your

       23      affidavits before signing them?

       24                A       I try to do my best.

       25                Q       So then it's possible there are


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                                                                               98
         1                             Yonel Devico

         2     errors in your affidavits?

         3               A       So thank you.       That it's very rare

         4     there are errors and thank you for underlining that.

         5     In all the cases at the beginning of the foreclosure

         6     Windward Bora was in possession -- Windward Bora --

         7                       (Whereupon, the Interpreter speaks to

         8               the Witness in French.)

         9               A       So at the beginning of the -- the

       10      beginning of taking action or at the beginning of

       11      the action Windward Bora already possessed the note

       12      and the mortgage.

       13                Q       I want to have a clear record.

       14      Mr. Devico, the statement in the first sentence in

       15      paragraph 4 is not true; correct?

       16                        MR. HASBANI:       Objection.    Asked and

       17                answered.

       18                        You can answer.

       19                A       So Windward Bora did not exist in

       20      2015.   So the date here is -- Windward Bora did not

       21      have the note yet.      It didn't exist in 2015.         It's

       22      an innocent error.      It's a typographic error.

       23                Q       So, Mr. Devico, was this affidavit

       24      submitted to the court?

       25                A       I don't recall if this affidavit was


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         1                             Yonel Devico

         2     since December 18, 2013."

         3                       Is this statement true?

         4                       THE INTERPRETER:            And this is in

         5               which paragraph?        Nine, did you say?

         6                       MR. RICHLAND:       Nine.

         7               A       I don't know.

         8               Q       Is it possible that Windward Bora

         9     owned the subject note and mortgage since

       10      December 18th, 2013?

       11                        THE INTERPRETER:            Since 2018 or '13?

       12                I'm sorry.      I didn't hear that.

       13                        MR. RICHLAND:       '13.

       14                        THE INTERPRETER:            That's what I

       15                thought.

       16                A       No.

       17                Q       We would agree that statement is

       18      false; correct?

       19                A       I repeat again that the possession,

       20      the date of the possession of the note came after

       21      the formation of Windward Bora and that was -- it

       22      could be either in 2017 or 2018, but where it's

       23      marked 2013, it should read either 2017, 2018.

       24      Again, it's an innocent error.

       25                Q       Okay.    Well, how do you know the


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         1                              Yonel Devico

         2                 Q      Okay.    So who gave you the title of

         3     vice president?

         4                 A      So myself.      Like someone would give

         5     the title of an associate in an office when there's

         6     no one else.      I put this title on myself.         I made

         7     this title myself.

         8                 Q      Is there a president?

         9                 A      Maybe.    I also gave myself the title

       10      of president.

       11                  Q      But to be clear, there are no other

       12      officers?

       13                  A      I don't believe so.         Not to my

       14      knowledge.      I don't know.

       15                  Q      So it's possible there are other

       16      people with other titles at Windward Bora?

       17                  A      Maybe.

       18                  Q      Okay.    What was your highest level of

       19      education?

       20                  A      What do you mean?

       21                  Q      What was the highest degree you ever

       22      achieved in education?

       23                  A      Master's.

       24                  Q      From what university?

       25                  A      Columbia University.


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         1                              Yonel Devico

         2                 Q     When did you get that degree?

         3                 A     It's a long time ago.

         4                 Q     Do you have a rough year when you

         5     attended?

         6                 A     You can look on my CV.            And you can

         7     look on my -- on my account there and there's all

         8     that personal information.

         9                 Q     Right.     So, Mr. Devico, is it true

       10      you have a master's degree in business management

       11      from Audencia Business School in Nantes, France?

       12                  A     It's possible.

       13                  Q     All right.      Is it true that you have

       14      a certificate or degree from Harvard Business School

       15      from a real estate management program?

       16                        THE INTERPRETER:            Business

       17                  management?

       18                        MR. RICHLAND:       Real estate

       19                  management.

       20                        THE INTERPRETER:            Real estate.

       21                  Excuse me.     Real estate management.

       22                  A     It's a very nice school.

       23                  Q     So that's a yes, you attended and

       24      obtained a degree?

       25                  A     It's possible.


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         1                             Yonel Devico

         2                Q      And how many languages do you speak?

         3                A      For pleasure or for work?

         4                Q      However many he'd like to tell us.

         5                A      Since I'm citizen of Morocco I speak

         6     Arabic.    I also speak French.

         7                Q      Yes, I gathered.

         8                A      I also speak a little bit of Spanish;

         9     I speak a little bit of English; I speak a little

       10      Italian; and I speak a little bit of Portuguese.

       11                 Q      Is it true that you worked in the

       12      sales and trading department of Société Générale's

       13      Equity Derivatives Group?

       14                        THE INTERPRETER:            I'm sorry.   What

       15                 department did you say, sir?

       16                        MR. RICHLAND:       Sales and training

       17                 department.

       18                 A      I don't recall.

       19                 Q      Is it true that you created Broome

       20      Capital?

       21                 A      I don't recall.

       22                 Q      Is it true that you sold it to a

       23      Canadian company?

       24                 A      I don't recall.

       25                 Q      And do you recall appearing in any


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         1                             Yonel Devico

         2     podcasts?

         3                 A     It's possible.

         4                 Q     So did you appear on the Jay Young

         5     Show episode 69 on October 1st, 2020?

         6                 A     I don't recall.

         7                 Q     Do you recall what language you were

         8     speaking in that podcast?

         9                 A     I don't recall.

       10                  Q     How about Finding the Right Business

       11      Influences on June 15th, 2020, with Joe Robert?

       12                        THE INTERPRETER:            What language he

       13                  spoke or what?     Was he on it?

       14                        MR. RICHLAND:       Was he on it?

       15                  A     It's possible.

       16                  Q     And were you on a podcast called the

       17      Path to 100 Million Assets Under Management & Beyond

       18      with Yonel Devico on June 12th, 2020?               Also with Joe

       19      Robert.

       20                  A     I don't recall.

       21                  Q     Do you have $100 million worth of

       22      assets under management?

       23                  A     I don't know.       I don't count.

       24                  Q     Were you on the podcast The Key to

       25      Underwriting Your Real Estate Deals with Yonel


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         1                              Yonel Devico

         2     Devico with Joe Robert on June 22nd, 2020?

         3                        THE INTERPRETER:            The key to what

         4               your real estate deals?

         5                        MR. RICHLAND:       Underwriting.

         6                        THE INTERPRETER:            Underwriting.

         7               Okay.

         8               A        I don't recall.

         9               Q        How about Red in New York City Event:

       10      Interview series, on July 16, 2020?

       11                         THE INTERPRETER:            Red, like the

       12                color?

       13                         MR. RICHLAND:       Yes, color.

       14                         THE INTERPRETER:            Red, what was the

       15                name of it?

       16                         MR. RICHLAND:       Red in NYC.

       17                         THE INTERPRETER:            Red in NYC.

       18                A        I don't recall.

       19                Q        Were you on a panel discussion on

       20      Buying Loans & Charged Off Debt from Peer to Peer

       21      Marketplaces, Regional Banks & Other Secondary

       22      Sources on July 20, 2020?

       23                         THE INTERPRETER:            I'm going to --

       24                that's a long one.

       25                Q        Buying Loans & Charged Off Debt from


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         1                              Yonel Devico

         2     Peer to Peer Marketplaces, Regional Banks & Other

         3     Secondary Sources on July 20, 2020.                It was a panel

         4     discussion.

         5                A      I don't recall.

         6                Q      How about were you on a podcast

         7     called The Future of Distressed Debt Financing

         8     Amidst COVID-19?

         9                A      I don't recall.

        10                Q      You mentioned earlier that you are

        11     married.    What is the name of your spouse?

        12                       MR. HASBANI:        I request that the

        13                transcript not reflect her name.

        14                       MR. RICHLAND:        That's fine.

        15                       THE INTERPRETER:             Should he answer?

        16                       MR. HASBANI:        Yes, you can answer.

        17                A      I tried to a find a wife whose name

        18     was Elizabeth, but I didn't succeed so I found a

        19     wife named (XXXXX).

        20                Q      Is she employed?

        21                A      She doesn't work.

        22                Q      Does she have any professional

        23     certifications?

        24                A      What do you mean?            What does that

        25     mean?


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